                  Case 23-14816                       Doc 14                Filed 11/13/23 Entered 11/13/23 09:09:11                                    Desc Main
                                                                             Document     Page 1 of 28
Fill in this information to identify your case and this filing:

Debtor 1                    James R. Duda
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Karla C. Duda
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

Case number            23-14816                                                                                                                            Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes. Where is the property?


1.1                                                                            What is the property? Check all that apply
       467 Yardley Drive
       Street address, if available, or other description
                                                                                  Single-family home                            Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative
                                                                                 
                                                                                  Manufactured or mobile home                   Current value of the      Current value of the
       Carol Stream                      IL        60188-0000                     Land                                          entire property?          portion you own?
       City                              State              ZIP Code              Investment property                                  $395,000.00                $395,000.00
                                                                                  Timeshare                                     Describe the nature of your ownership interest
                                                                                  Other                                         (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                  Debtor 1 only
       DuPage                                                                     Debtor 2 only
       County                                                                     Debtor 1 and Debtor 2 only
                                                                                  At least one of the debtors and another        Check    if this is community property
                                                                                                                                   (see instructions)

                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Value per zillow.com $424k 11/2/23 but that's too high; PIN 02-19-400-032;
                                                                               deeded to debtors at DuPage R2015-085704


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $395,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
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Debtor 1        James R. Duda
Debtor 2        Karla C. Duda                                                                                      Case number (if known)       23-14816

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes

  3.1   Make:      Toyota                                                                                                    Do not deduct secured claims or exemptions. Put
                                                            Who has an interest in the property? Check one
                                                                                                                             the amount of any secured claims on Schedule D:
        Model:     Prius                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
        Year:      2021                                      Debtor 2 only                                                  Current value of the      Current value of the
        Approximate mileage:                 45000           Debtor 1 and Debtor 2 only                                     entire property?          portion you own?
        Other information:                                   At least one of the debtors and another

                                                             Check if this is community property                                    $22,105.00                 $22,105.00
                                                                 (see instructions)



  3.2   Make:      Chrysler                                                                                                  Do not deduct secured claims or exemptions. Put
                                                            Who has an interest in the property? Check one
                                                                                                                             the amount of any secured claims on Schedule D:
        Model:     Pacifica                                  Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
        Year:      2018                                      Debtor 2 only                                                  Current value of the      Current value of the
        Approximate mileage:                120000           Debtor 1 and Debtor 2 only                                     entire property?          portion you own?
        Other information:                                   At least one of the debtors and another

                                                             Check if this is community property                                    $15,143.00                 $15,143.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $37,248.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe.....
                                   Three bedroom sets, office set, dining room set, patio furntiure,
                                   grill                                                                                                                          $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes. Describe.....
                                   Three TVs, two laptops (over 2 years old), two wireless speakers,
                                   Google Home, iPad, cell phones                                                                                                    $350.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
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Debtor 2      Karla C. Duda                                                                         Case number (if known)     23-14816

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
                               Canvases of family photos, souvenier artwork from El Salvador                                                       $250.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....
                               Couple sets of golf clubs (over 8 years old), elliptical machine
                               (hand-me-down from friend), three mountain bikes                                                                    $500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe.....
                               Necessary wearing apparel                                                                                           $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes. Describe.....
                               Wedding set ($5k), basic accessories ($500), broken Movado
                               watch                                                                                                             $5,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes. Describe.....
                               Dog ("Magnus")                                                                                                         $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $8,600.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3
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Debtor 2          Karla C. Duda                                                                                            Case number (if known)   23-14816


16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              Cash, spare
                                                                                                                              change jars                         $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                             17.1.       Savings x2306                          Chase                                                           $4,400.00


                                                                                                Chase (held as of petition date by Timberland
                                             17.2.       Checking, x1927                        Bank/ARS Financial)                                             $6,800.00


                                                                                                Chase (held as of petition date by Timberland
                                             17.3.       Checking x0409                         Bank/ARS Financial)                                             $2,254.19


                                                                                                Chase (held as of petition date by Timberland
                                             17.4.       Checking x9633                         Bank/ARS Financial)                                             $7,225.95



                                             17.5.       Crypto                                 Coinbase                                                           $3.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                                 Name of entity:                                                            % of ownership:

                                                 Visabel Pizza LLC, owns no assets                                               100          %                    $0.00


                                                 Millies Pancake Shoppe II LLC, debtor in NDIL
                                                 bankruptcy 23-06836                                                              50          %                    $0.00


                                                 Ultimate Maniacs, managed pizza place in
                                                 Arizona, inactive since 2021                                                    100          %                    $0.00


                                                 Mega Powers LLC, managed pizza place, no
                                                 accounts exist                                                                   50          %                    $0.00


                                                 Physical Therapy Focus LLC, dissolved                                           100          %                    $0.00



Official Form 106A/B                                                                    Schedule A/B: Property                                                      page 4
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Debtor 2        Karla C. Duda                                                                              Case number (if known)      23-14816


                                         IVD Restaurant Group LLC, initial management
                                         group, dissolved, no accounts                                            100        %                            $0.00


                                         Millies Group LLC, active, downtown food hall
                                         location, owns restaurant coolers, estimated
                                         value of assets $6,666.00, owes $30k loan to
                                         James' grandparents                                                      100        %                            $0.00


                                         MJ Concepts LLC, dissolved, no accounts, was
                                         a pop-up restaurant                                                      50         %                            $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                       Type of account:                  Institution name:

                                       401(k)                            Two accounts: Fidelity and Empower                                         $30,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured

Official Form 106A/B                                                Schedule A/B: Property                                                                page 5
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Debtor 2        Karla C. Duda                                                                                                   Case number (if known)        23-14816

                                                                                                                                                                claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                            Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

                                            Term life insurance with American
                                            Family Insurance                                                         Each other                                                  $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes. Give specific information..
                                                         Wages earned but unpaid as of petition date                                                                        Unknown


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $50,693.14


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes. Go to line 38.

Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 6
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                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
    Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
    Yes. Describe.....

                                       Two desks, bookshelf, wire shelving, laser printer                                                                                     $300.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
    Yes. Describe.....

41. Inventory
    No
    Yes. Describe.....

42. Interests in partnerships or joint ventures
    No
    Yes. Give specific information about them...................
                                            Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
   No.
   Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
              Yes. Describe.....

44. Any business-related property you did not already list
    No
    Yes. Give specific information.........


45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................                $300.00

Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes. Go to line 47.

Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above



Official Form 106A/B                                                          Schedule A/B: Property                                                                             page 7
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Debtor 2         Karla C. Duda                                                                                                         Case number (if known)   23-14816


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                 $395,000.00
56. Part 2: Total vehicles, line 5                                                                           $37,248.00
57. Part 3: Total personal and household items, line 15                                                       $8,600.00
58. Part 4: Total financial assets, line 36                                                                  $50,693.14
59. Part 5: Total business-related property, line 45                                                           $300.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $96,841.14              Copy personal property total              $96,841.14

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $491,841.14




Official Form 106A/B                                                              Schedule A/B: Property                                                                            page 8
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Fill in this information to identify your case:

Debtor 1                James R. Duda
                        First Name                   Middle Name                Last Name

Debtor 2                Karla C. Duda
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS

Case number           23-14816
(if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     467 Yardley Drive Carol Stream, IL                                                                                735 ILCS 5/12-901
     60188 DuPage County
                                                            $395,000.00                               $30,000.00
     Value per zillow.com $424k 11/2/23                                        100% of fair market value, up to
     but that's too high; PIN                                                      any applicable statutory limit
     02-19-400-032; deeded to debtors at
     DuPage R2015-085704
     Line from Schedule A/B: 1.1

     2021 Toyota Prius 45000 miles                                                                                     735 ILCS 5/12-1001(c)
     Line from Schedule A/B: 3.1
                                                              $22,105.00                                $2,400.00
                                                                               100% of fair market value, up to
                                                                                   any applicable statutory limit

     2018 Chrysler Pacifica 120000 miles                                                                               735 ILCS 5/12-1001(c)
     Line from Schedule A/B: 3.2
                                                              $15,143.00                                $2,400.00
                                                                               100% of fair market value, up to
                                                                                   any applicable statutory limit

     Necessary wearing apparel                                                                                         735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.1
                                                                   $500.00                                $500.00
                                                                               100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 2   Karla C. Duda                                                                       Case number (if known)     23-14816
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Wedding set ($5k), basic accessories                                                                                735 ILCS 5/12-1001(a)
    ($500), broken Movado watch
                                                            $5,500.00                                 $5,000.00
    Line from Schedule A/B: 12.1                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking, x1927: Chase (held as of                                                                                  735 ILCS 5/12-1001(b)
    petition date by Timberland
                                                            $6,800.00                                 $1,745.81
    Bank/ARS Financial)                                                      100% of fair market value, up to
    Line from Schedule A/B: 17.2                                                 any applicable statutory limit

    Checking x0409: Chase (held as of                                                                                   735 ILCS 5/12-1001(b)
    petition date by Timberland
                                                            $2,254.19                                 $2,254.19
    Bank/ARS Financial)                                                      100% of fair market value, up to
    Line from Schedule A/B: 17.3                                                 any applicable statutory limit

    Checking x9633: Chase (held as of                                                                                   735 ILCS 5/12-1001(b)
    petition date by Timberland
                                                            $7,225.95                                 $4,000.00
    Bank/ARS Financial)                                                      100% of fair market value, up to
    Line from Schedule A/B: 17.4                                                 any applicable statutory limit

    401(k): Two accounts: Fidelity and                                                                                  735 ILCS 5/12-1006
    Empower
                                                           $30,000.00                                 $1,500.00
    Line from Schedule A/B: 21.1                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Wages earned but unpaid as of                                                                                       735 ILCS 5/12-803, 740 ILCS
    petition date
                                                            Unknown                                         85%
                                                                                                                        170/4
    Line from Schedule A/B: 35.1                                             100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       No
       Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   James R. Duda
                           First Name                      Middle Name                     Last Name

Debtor 2                   Karla C. Duda
(Spouse if, filing)        First Name                      Middle Name                     Last Name


United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

Case number           23-14816
(if known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B               Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                           value of collateral.   claim                  If any
2.1     Ally                                     Describe the property that secures the claim:                 $15,122.94               $15,143.00                   $0.00
        Creditor's Name                          2018 Chrysler Pacifica 120000 miles
        Payment Processing
        Center
                                                 As of the date you file, the claim is: Check all that
        PO Box 9001951                           apply.
        Louisville, KY 40290                      Contingent
        Number, Street, City, State & Zip Code    Unliquidated
                                                  Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
 Debtor 2 only                                       car loan)
 Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another         Judgment lien from a lawsuit
 Check if this claim relates to a                Other (including a right to offset)
      community debt

Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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Debtor 1 James R. Duda                                                                                    Case number (if known)   23-14816
             First Name                  Middle Name                     Last Name
Debtor 2 Karla C. Duda
             First Name                  Middle Name                     Last Name


2.2    Fifth Third Bank                           Describe the property that secures the claim:                 $314,458.95           $395,000.00              $0.00
       Creditor's Name
                                                  467 Yardley Drive Carol Stream, IL
                                                  60188 DuPage County
                                                  Value per zillow.com $424k 11/2/23
                                                  but that's too high; PIN
                                                  02-19-400-032; deeded to debtors at
       5050 Kingsley Dr., M/D                     DuPage R2015-085704
                                                  As of the date you file, the claim is: Check all that
       1MOCFP                                     apply.
       Cincinnati, OH 45263                        Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

Date debt was incurred                                     Last 4 digits of account number


       Toyota Motor Credit
2.3                                                                                                              $19,694.00            $22,105.00              $0.00
       Corp.                                      Describe the property that secures the claim:
       Creditor's Name
                                                  2021 Toyota Prius 45000 miles

                                                  As of the date you file, the claim is: Check all that
       PO Box 9786                                apply.
       Cedar Rapids, IA 52409                      Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
      community debt

Date debt was incurred                                     Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                $349,275.89
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                               $349,275.89

Part 2:    List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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Fill in this information to identify your case:

Debtor 1                  James R. Duda
                          First Name                       Middle Name                       Last Name

Debtor 2                  Karla C. Duda
(Spouse if, filing)       First Name                       Middle Name                       Last Name


United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

Case number           23-14816
(if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
       Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Advantage Plus                                          Last 4 digits of account number                                                                     Unknown
             Nonpriority Creditor's Name
             13400 Bishop's Lane, Suite 280                          When was the debt incurred?
             Brookfield, WI 53005
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
             debt                                                     Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 12
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Debtor 2 Karla C. Duda                                                                         Case number (if known)        23-14816

4.2      Alliant Insurance Svcs./Arrowhead                 Last 4 digits of account number                                                         $962.00
         Nonpriority Creditor's Name
                                                           When was the debt incurred?

         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify

4.3      American Express                                  Last 4 digits of account number                                                         $906.54
         Nonpriority Creditor's Name
         PO Box 981535                                     When was the debt incurred?
         El Paso, TX 79998
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Credit card

4.4      Chase                                             Last 4 digits of account number                                                        $8,600.00
         Nonpriority Creditor's Name
         PO Box 36520                                      When was the debt incurred?
         Louisville, KY 40233
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Guaranty




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 12
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Debtor 1 James R. Duda
Debtor 2 Karla C. Duda                                                                        Case number (if known)        23-14816

4.5      Chase                                            Last 4 digits of account number                                                        $6,230.78
         Nonpriority Creditor's Name
         PO Box 15298                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.6      Chase                                            Last 4 digits of account number                                                        $3,587.40
         Nonpriority Creditor's Name
         PO Box 15298                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.7      Chase                                            Last 4 digits of account number                                                    $14,469.81
         Nonpriority Creditor's Name
         PO Box 15369                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card




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Debtor 1 James R. Duda
Debtor 2 Karla C. Duda                                                                        Case number (if known)        23-14816

4.8      Chase                                            Last 4 digits of account number                                                        $7,219.84
         Nonpriority Creditor's Name
         PO Box 15369                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.9      Chase Visa Amazon                                Last 4 digits of account number                                                        $7,018.00
         Nonpriority Creditor's Name
         PO Box 15298                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.1
0        Discover                                         Last 4 digits of account number                                                    $20,399.18
         Nonpriority Creditor's Name
         PO Box 6103                                      When was the debt incurred?
         Carol Stream, IL 60197
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card




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Debtor 2 Karla C. Duda                                                                        Case number (if known)        23-14816

4.1
1        FNB Omaha                                        Last 4 digits of account number                                                        $5,234.00
         Nonpriority Creditor's Name
         1620 Dodge St.                                   When was the debt incurred?
         MS 3104
         Omaha, NE 68197
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.1
2        Goldman Sachs Bank                               Last 4 digits of account number                                                        $5,973.49
         Nonpriority Creditor's Name
         Lockbox 6112, PO Box 7247                        When was the debt incurred?
         Philadelphia, PA 19170
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.1
3        Greco                                            Last 4 digits of account number                                                        $8,053.36
         Nonpriority Creditor's Name
         Rauch-Miliken International, Inc.                When was the debt incurred?
         PO Box 8390
         Metairie, LA 70011
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify




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Debtor 1 James R. Duda
Debtor 2 Karla C. Duda                                                                        Case number (if known)        23-14816

4.1
4        Huntington Bank                                  Last 4 digits of account number                                                    Unknown
         Nonpriority Creditor's Name
         P.O. Box 182232, GW1W34                          When was the debt incurred?
         Columbus, OH 43218
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify

4.1
5        JPMCB Card Services                              Last 4 digits of account number                                                    $16,032.00
         Nonpriority Creditor's Name
         PO Box 15369                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card

4.1
6        JPMCB Card Services                              Last 4 digits of account number                                                        $7,174.00
         Nonpriority Creditor's Name
         PO Box 15369                                     When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify Credit card




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Debtor 2 Karla C. Duda                                                                         Case number (if known)        23-14816

4.1
7        Keystone Properties                               Last 4 digits of account number                                                    $57,000.00
         Nonpriority Creditor's Name
         31000 Northwest Highway #200                      When was the debt incurred?
         Farmington, MI 48334
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify

4.1
8        McCrea Property Group LLC                         Last 4 digits of account number                                                    $52,000.00
         Nonpriority Creditor's Name
         9102 North Meridan Street Suite 230               When was the debt incurred?
         Indianapolis, IN 46260
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Guaranty of lease

4.1
9        Navient                                           Last 4 digits of account number                                                    $58,054.00
         Nonpriority Creditor's Name
         123 Justison St., 3rd Floor                       When was the debt incurred?
         Wilmington, DE 19801
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
                                                           Type of NONPRIORITY unsecured claim:
          At least one of the debtors and another
          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify
                                                                                Student loan




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Debtor 1 James R. Duda
Debtor 2 Karla C. Duda                                                                        Case number (if known)        23-14816

4.2
0        Navient                                          Last 4 digits of account number                                                    $81,265.00
         Nonpriority Creditor's Name
         123 Justison St., 3rd Fl.                        When was the debt incurred?
         Wilmington, DE 19801
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
                                                          Type of NONPRIORITY unsecured claim:
          At least one of the debtors and another
          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify
                                                                               Student loan
4.2
1        Oswego Junction LLC                              Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         1019-1071 Station Dr                             When was the debt incurred?
         Oswego, IL 60543
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify

4.2
2        Oswego Pizza LLC                                 Last 4 digits of account number                                                    $90,000.00
         Nonpriority Creditor's Name
         28381 Davis Pkwy. Suite 701                      When was the debt incurred?
         Warrenville, IL 60555
         Number Street City State Zip Code                As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                   Contingent
          Debtor 2 only                                   Unliquidated
          Debtor 1 and Debtor 2 only                      Disputed
          At least one of the debtors and another        Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community          Student loans
         debt                                              Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                  report as priority claims

          No                                              Debts to pension or profit-sharing plans, and other similar debts
          Yes                                             Other. Specify




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Debtor 2 Karla C. Duda                                                                         Case number (if known)        23-14816

4.2
3        Small Business Administration                     Last 4 digits of account number                                                   $149,900.00
         Nonpriority Creditor's Name
         CESC - COVID EIDL Service Center                  When was the debt incurred?
         14925 Kingsport Rd.
         Fort Worth, TX 76155
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Personal guaranty

4.2
4        Small Business Administration                     Last 4 digits of account number                                                   $150,922.00
         Nonpriority Creditor's Name
         2 North Street, Suite 320                         When was the debt incurred?
         Birmingham, AL 35203
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Personal guaranty

4.2
5        Small Business Administration                     Last 4 digits of account number                                                   $150,000.00
         Nonpriority Creditor's Name
         CESC - COVID EIDL Service Center                  When was the debt incurred?
         14925 Kingsport Rd.
         Fort Worth, TX 76155
         Number Street City State Zip Code                 As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                    Contingent
          Debtor 2 only                                    Unliquidated
          Debtor 1 and Debtor 2 only                       Disputed
          At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community           Student loans
         debt                                               Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                   report as priority claims

          No                                               Debts to pension or profit-sharing plans, and other similar debts
          Yes                                              Other. Specify Personal guaranty




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Debtor 2 Karla C. Duda                                                                             Case number (if known)        23-14816

4.2
6         Small Business Administration                        Last 4 digits of account number                                                         $137,000.00
          Nonpriority Creditor's Name
          CESC - COVID EIDL Service Center                     When was the debt incurred?
          14925 Kingsport Rd.
          Fort Worth, TX 76155
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify Personal guaranty

4.2
7         SYNCB/Paypal                                         Last 4 digits of account number                                                            $4,019.25
          Nonpriority Creditor's Name
          PO Box 71783                                         When was the debt incurred?
          Philadelphia, PA 19176
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify Credit card

4.2
8         Timberland Bank/ARF Financial                        Last 4 digits of account number                                                           $21,901.24
          Nonpriority Creditor's Name
          624 Simpson Ave.                                     When was the debt incurred?
          Hoquiam, WA 98550
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


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Debtor 2 Karla C. Duda                                                                            Case number (if known)         23-14816

  have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
  notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
American Express                                         Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
PO Box 6031                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Carol Stream, IL 60197
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Apple Card - GS Bank                                     Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
11850 S. Election Rd.                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Draper, UT 84020
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Discover Bank                                            Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
PO Box 30939                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84130
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
FNB Omaha                                                Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
1620 Dodge St.                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
MS 3104
Omaha, NE 68197
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Huck Bouma                                               Line 4.22 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
1755 S. Naperville Rd., Suite 200                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Wheaton, IL 60189
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Noah Weininger                                           Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
161 N. Clark St.                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Suite 1600
Chicago, IL 60601
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Selby Morgan & Born, PLLC                                Line 4.28 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
1019 Regents Blvd., Suite 103                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Fircrest, WA 98466
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
SYNCB/PPC                                                Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
PO Box 965005                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Turnbull Born & Jones, PLLC                              Line 4.28 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Commerce Building, Suite 1050                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
950 Pacific Avenue
Tacoma, WA 98402
                                                         Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                        Total Claim
                        6a.   Domestic support obligations                                          6a.       $                          0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                  6b.       $                          0.00
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                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $              139,319.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              924,602.89

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             1,063,921.89




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Fill in this information to identify your case:

Debtor 1                 James R. Duda
                         First Name                         Middle Name              Last Name

Debtor 2                 Karla C. Duda
(Spouse if, filing)      First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

Case number           23-14816
(if known)
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                     State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.2
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.3
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.4
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.5
          Name


          Number       Street

          City                                    State                   ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   James R. Duda
                           First Name                           Middle Name        Last Name

Debtor 2                   Karla C. Duda
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

Case number           23-14816
(if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
      Yes
      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Mega Powers LLC                                                                      Schedule D, line
                                                                                                    Schedule E/F, line    4.26
                                                                                                    Schedule G
                                                                                                   Small Business Administration



   3.2         Mega Powers LLC                                                                      Schedule D, line
                                                                                                    Schedule E/F, line    4.17
                                                                                                    Schedule G
                                                                                                   Keystone Properties



   3.3         Mega Powers LLC                                                                      Schedule D, line
                                                                                                    Schedule E/F, line    4.3
                                                                                                    Schedule G
                                                                                                   American Express




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 2
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Debtor 1 Karla C. Duda                                                    Case number (if known)   23-14816


        Additional Page to List More Codebtors
         Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt
                                                                               Check all schedules that apply:
  3.4    Millies                                                                Schedule D, line
                                                                                Schedule E/F, line      4.24
                                                                                Schedule G
                                                                               Small Business Administration



  3.5    Ultimate Maniacs                                                       Schedule D, line
                                                                                Schedule E/F, line      4.25
                                                                                Schedule G
                                                                               Small Business Administration



  3.6    Visabel                                                                Schedule D, line
                                                                                Schedule E/F, line      4.23
                                                                                Schedule G
                                                                               Small Business Administration



  3.7    Visabel                                                                Schedule D, line
                                                                                Schedule E/F, line      4.18
                                                                                Schedule G
                                                                               McCrea Property Group LLC




Official Form 106H                                         Schedule H: Your Codebtors                                Page 2 of 2
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